        Case 2:23-cv-04285-JFM Document 8 Filed 01/02/24 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA


MADELINE GIORGI, on behalf of herself
and all others similarly situated,           Case No. 2:23-cv-04285-JFM

      Plaintiff,
V.


WEST CHESTER UNIVERSITY,

      Defendant.


              NOTICE OF DISMISSAL WITHOUT PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiff Madeline Giorgi hereby

voluntarily dismisses without prejudice her claims against Defendant West Chester

University.

Dated: January 2, 2024                     Respectfully submitted,

                                           /s/ Gary F. Lynch
                                           Gary F. Lynch
                                           Nicholas A. Colella
                                           LYNCH CARPENTER, LLP
                                           1133 Penn Avenue, 5th Floor
                                           Pittsburgh, Pennsylvania 15222
                                           Telephone: 412-322-9243
                                           Facsimile: 412-231-0246
                                           gary@lcllp.com
                                           nickc@lcllp.com

                                           Michael A. Tompkins, Esq.
                                           Anthony Alesandro, Esq.
                                           LEEDS BROWN LAW, P.C.


                                       1
Case 2:23-cv-04285-JFM Document 8 Filed 01/02/24 Page 2 of 2




                                 One Old Country Road, Suite 347
                                 Carle Place, NY 11514
                                 (516) 873-9550
                                 mtompkins@leedsbrownlaw.com
                                 aalesandro@leedsbrownlaw.com

                                 Counsel for Plaintiff and Proposed
                                 Class




                             2
